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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


RONALD HINTON,                               )
                                             )
               Plaintiff,                    )         No. 15 C 10240
                                             )
                       v.                    )         Honorable Robert W. Gettleman
                                             )         Judge Presiding
MARCUS HARDY, et al.,                        )
                                             )
               Defendants.                   )


                          DEFENDANT’S MOTION TO DISMISS
                       PLAINTIFF’S FIRST AMENDED COMPLAINT

       Defendant MARCUS HARDY, by and through his attorney, LISA MADIGAN, Attorney

General for Illinois, and pursuant to Fed.R.Civ.P. 12(b)(6), hereby moves to dismiss Plaintiff’s

First Amended Complaint as fully set forth in his Memorandum of Law in Support of His Motion

to Dismiss Plaintiff’s First Amended Complaint. Defendant respectfully requests that this Court

grant the instant motion in his favor.



 Dated: August 1, 2016                           Respectfully submitted,


 LISA MADIGAN
 Attorney General of the State of Illinois
                                                 By:     /s/ Deborah J. Baker
                                                         Deborah J. Baker
                                                         Assistant Attorney General
                                                         Office of the Illinois Attorney General
                                                         100 West Randolph Street, 13th Floor
                                                         Chicago Illinois 60601
                                                         (312) 814-2035
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on August 1, 2016, she electronically filed the foregoing
document with the Clerk of the Court for the United States District Court for the Northern District
of Illinois using the CM/ECF system. Participants in the case who are registered CM/ECF users
will be served by the CM/ECF system. The undersigned further certifies that the foregoing
document was served upon the above individual via U.S. first class mail, proper postage prepaid.

                                                     /s/ Deborah J. Baker
